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       Plaintiff alleges, “[o]n multiple dates after each photograph…was registered,
one or more of Defendant’s users caused each photograph compromising the Work
to be displayed/published on Defendant’s social media app/website platform.”
(Compl. ¶ 19.) Following the discovery of the Photos on Defendant’s platform,
Plaintiff alleges she “fully complied with 17 U.S.C. § 512 by sending multiple
Digital Millenium Copyright Act (the “DMCA”) takedown notices to Defendant
through its designated agent.” (Compl. ¶ 21.) Plaintiff alleges that Defendant
“failed and/or refused to remove the Work” from its platform. (Compl. ¶ 22.)

       Defendant TikTok now moves to dismiss Plaintiff’s complaint pursuant to
Federal Rule of Civil Procedure (“Rule”) 12(b)(6), alleging Plaintiff has not pled
facts in her complaint to plausibly support either a direct, vicarious, or contributory
copyright infringement theory by TikTok.

   II.      LEGAL STANDARD

       Rule 12(b)(6) allows an attack on the pleadings for “failure to state a claim
upon which relief can be granted.” A complaint may be dismissed under
Rule 12(b)(6) for the lack of a cognizable legal theory or the absence of sufficient
facts alleged under a cognizable legal theory. Balistreri v. Pacifica Police Dep’t,
901 F.2d 696, 699 (9th Cir. 1988).

        When ruling on a Rule 12(b)(6) motion, “a judge must accept as true all of
the factual allegations contained in the complaint.” Erickson v. Pardus, 551 U.S.
89, 94 (2007). But a court is “not bound to accept as true a legal conclusion
couched as a factual allegation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
(internal quotation marks omitted). “To survive a motion to dismiss, a complaint
must contain sufficient factual matter, accepted as true, to ‘state a claim to relief
that is plausible on its face.’” Id. (quoting Bell Atl. Corp. v. Twombly, 550 U.S.
544, 570 (2007)). “A claim has facial plausibility when the plaintiff pleads factual
content that allows the court to draw the reasonable inference that the defendant is
liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. Deciding whether a
complaint satisfies the plausibility standard is a “context-specific task that requires
the reviewing court to draw on its judicial experience and common sense.” Id. at
679.

       If a court determines that a complaint should be dismissed, it must then
decide whether to grant leave to amend. Under Rule 15(a), leave to amend “should
be freely granted when justice so requires.” Lopez v. Smith, 203 F.3d 1122, 1127

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(9th Cir. 2000) (cleaned up). A district court should generally grant leave to amend
“unless it determines that the pleading could not possibly be cured by the
allegation of other facts,” making any potential amendments futile. Id. at 1130
(quoting Doe v. U.S., 58 F.3d 494, 497 (9th Cir. 1995); see also Leadsinger, Inc. v.
BMG Music Publ’g, 512 F.3d 522, 532 (9th Cir. 2008).

   III.     DISCUSSION

       Defendant TikTok argues that Plaintiff Waterman fails to adequately plead
direct, contributory, and vicarious copyright infringement theories in her
complaint, and thus, her complaint must be dismissed in its entirety. (Mot. 1:10-
28.) Waterman argues that the “Complaint alleges a single count of copyright
infringement based on a theory of direct infringement, vicarious infringement, or
copyright infringement.” (Opp. 3:5-7) (emphasis in original). As such, Waterman
argues that, if the Court finds Waterman has “plead a plausible claim on any one of
those theories of infringement, dismissal of the claim is improper.” (Opp. 9:1-9)
(emphasis in original).

       Waterman’s argument is misguided. The Ninth Circuit consistently analyzes
copyright infringement theories separately when a single claim asserts various
theories. See A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004 (9th Cir. 2001)
(applying a separate analysis for each infringement claim alleged); see also Louise
Vuitton Malletier, S.A. v. Akanoc Solutions, Inc., 591 F. Supp. 2d 1098, 1103 n. 6
(analyzing each separate theory because they are “distinct legal theories”, so the
court discusses each “as a separate cause of action”). As such, the Court will
address each theory in turn as its own separate cause of action.

       A. Direct Copyright Infringement

       To plead direct copyright infringement under 17 U.S.C. § 501, a plaintiff
must show (1) “ownership of the allegedly infringed material,” (2) that the
defendant “violate[d] at least one exclusive right granted to” plaintiff under 17
U.S.C. § 106, and (3) causation. VHT, Inc. v. Zillow Grp., Inc., 918 F.3d 723, 731
(9th Cir. 2019). An allegation of copyright registration is sufficient to state prima
facie claim to ownership of the work. 17 U.S.C. § 410(c). Since TikTok does not
dispute that Waterman has adequately alleged the first and second elements of
infringement, the Court will focus its analysis on the causation element.

      The causation element is frequently referred to as “volitional conduct” in
copyright cases. See Perfect 10, Inc. v. Giganews, Inc. 847 F.3d 657, 666 (9th Cir.

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2017). The Ninth Circuit has clarified, however, that this term in copyright caselaw
refers to the basic tort concept of proximate causation. Id. To plead causation,
Waterman must include allegations that TikTok exercised some degree of control
over the images, “other than by general operation of its website.” See Zillow Grp.
Inc., 918 F.3d at 732; see also BMG Rts. Mgmt. (US) LLC v. Joyy Inc., 644 F.
Supp. 3d 602, 608 (C.D. Cal. 2022) (“Where, as here, the action is against a
website owner, the distinction between active and passive participation in the
alleged infringement is central to the legal analysis.”) (internal citation omitted).

        Waterman agrees with TikTok’s position that a direct infringement theory of
liability has not been properly set forth in the Complaint. (Opp. 9:6-11.) Plaintiff’s
theory of direct copyright infringement is DISMISSED.

       B. Contributory Copyright Infringement

       Under federal copyright law, “[o]ne infringes contributorily by intentionally
inducing or encouraging direct infringement.” Metro-Goldwyn-Mayer Studios Inc.
v. Grokster, Ltd. (“Grokster”), 454 U.S. 913, 930 (2005) (citation omitted). Within
the Ninth Circuit, a party may be held liable for contributory infringement if it “(1)
has knowledge of another’s infringement and (2) either (a) materially contributes
to or (b) induces that infringement.” Perfect 10, Inc. v. Visa Int’l Serv. Ass’n, 494
F.3d 788, 795 (9th Cir. 2007).

       In the context of online platforms, the Ninth Circuit has held that “a
computer system operator can be held contributorily liable if it has actual
knowledge that specific infringing material is available using its system and can
take simple measures to prevent further damage to copyrighted work yet continues
to provide access to infringing works.” Perfect 10, Inc. v. Amazon.com, Inc.
(“Amazon.com”), 508 F.3d 1146, 1158 (9th Cir. 2007) (citations and quotations
omitted).

                    1. Knowledge

      To establish liability, the first prong requires “more than a generalized
knowledge of the possibility of infringement.” Luvdarts, LLC v. AT&T Mobility,
LLC, 710 F.3d 1068, 1072. The knowledge requirement is satisfied by “actual
knowledge,” but the law “remains unsettled” with respect to whether “reason to
know” is sufficient. See Atari Interactive, Inc. v. Redbubble, Inc., 515 F. Supp. 3d
1089, 1114 (N.D. Cal. 2021) (citing Erickson Prods., Inc. v. Kast, 921 F.3d 822,
832 (9th Cir. 2019).

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        The Ninth Circuit thereafter clarified in A&M Records, Inc. v. Napster, Inc.
(“Napster II”) that the knowledge requirement for contributory infringement
liability is satisfied when “a computer system operator learns of specific infringing
material available on his system and fails to purge such material from the system.”
239 F.3d 1104, 1021 (9th Cir. 2001). The Circuit explained, however, that “absent
any specific information which identifies infringing activity, a computer system
operator cannot be held liable for contributory infringement merely because the
structure of the system allows for the exchange of copyrighted material.” Id. (citing
Sony Corp. v. Universal City Studios, Inc., 464 U.S. 417, 436 (1984)).

       The defendant is not required to be aware of the copyright registration
number or exact location of the infringing content in order for the knowledge to be
specific; it is enough if the defendant has sufficient information to be able to find
the specific infringing content on its system. Perfect 10 v. Giganews, Inc., 2013
WL 2109963 at *10 (C.D. Cal. Mar. 8, 2013), aff’d, 847 F.3d 657 (9th Cir. 2017)
(emphasis added) (finding knowledge when plaintiff sent a notice identifying
hundreds of copyrighted images, alleging defendant had a search function which
could have been used to search for the infringing content based on the image
identifiers plaintiff provided in the notice).

       Here, Waterman alleges that TikTok had actual knowledge of the
infringement due to the DMCA take-down notices. (Opp. 7:13.) Plaintiff’s
Complaint alleges, “Plaintiff fully complied with 17 U.S.C. § 512 by sending
multiple Digital Millennium Copyright Act (“DMCA”) takedown notices to
Defendant.” (Compl. ¶ 21.) TikTok argues that Waterman failed to plead any facts
relating to when the takedown notices were sent, when the infringement occurred,
what information was included in the notices, and any other facts that suggest
Waterman provided TikTok with sufficient information to be able to locate the
specific infringing content on its system. (Mot. 15:18-23.)

       On a Rule 12(b)(6) motion, allegations must be taken as true unless
contradicted by materials properly before the Court. Waterman alleges that her
takedown notices complied with DMCA’s requirements, which would be sufficient
to place TikTok on notice. However, only stating Waterman “complied with
DMCA requirements” without pleading how the notices complied is a legal
conclusion the Court is not allowed to accept as fact under Iqbal. 556 U.S. at 678.
The case Waterman relies on, Backgrid USA v. Twitter, Inc., et al., held that the
pleadings of the DMCA notice was sufficient because the complaint specified that
the take-down notices provided a link to the defendant to properly identify each

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instance in alleged infringement.1 No. CV 22-9462-DMG (ADSx), 2024 U.S. Dist.
LEXIS 103090, *13 (C.D. Cal June 7, 2024). However, here, Waterman’s
complaint is completely devoid of any factual allegations regarding the specific
details included in the DMCA. As such, the Court is unable to conclude TikTok
had knowledge, actual or reason to know, of the alleged infringement.

                     2. Material Contribution

       Even assuming that Waterman’s takedown notices were sufficient to confer
knowledge, Waterman failed to allege that TikTok materially contributed to or
induced infringement. As explained by the Ninth Circuit in Perfect 10, Inc. v.
Giganews, a computer system operation is liable under a material contribution
theory of infringement “if it has actual knowledge that specific infringing material
is available using its system and can take simple measures to prevent further
damage to copyrighted works yet continues to provide access to infringing works.”
847 F.3d 657, 671 (9th Cir. 2017) (emphasis removed).

       Waterman argues that because TikTok had “actual knowledge of the
infringement,” the material contribution prong is automatically satisfied under
Giganews. (Opp. 7:21-8:19.) Waterman is incorrect. Knowledge is only one part of
the analysis required under Giganews. Rather, in Giganews, the Ninth Circuit
found the material contribution element was not satisfied because there were “no
simple measures available to remove infringing material.” Giganews, 847 F.3d at
671.

       Here, Waterman has not alleged any facts in the complaint that TikTok had
knowledge of the specific infringing materials and was able to take simple
measures to prevent further infringement. Rather, Waterman only alleges,
“Defendant has the right and ability to control the infringing acts of its users yet
declined or failed to stop its users from engaging in its infringing activity.”
(Compl. ¶ 31.) Waterman alleges no facts that Defendant had the ability to control
the acts of its users or that Defendant was able to use simple measures to remove
the infringing material from its platform. As such, Waterman’s contributory
infringement claim is DISMISSED.

        C. Vicarious Copyright Infringement

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  In Backgrid USA, Inc. v. Twitter, Inc., Chief Judge Gee wrote, “Each [DMCA] notice complied with 17 U.S.C.
512(c)(3), giving [Defendant] knowledge of specific infringing material, including providing a link to where the
infringement was stored and where it was displayed.” No. CV 22-9462-DMG (ADSx), 2024 U.S. Dist. LEXIS
103090, *13 (C.D. Cal June 7, 2024).


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        A defendant may also be liable under a vicarious infringement theory “by
profiting from direct infringement while declining to exercise a right to stop or
limit it.” Grokster, 545 U.S. at 930. To prove vicarious infringement, Plaintiff must
show (1) that Defendants enjoy a direct financial benefit from the infringing
activity of its subscribers, and (2) that Defendants have declined to exercise the
right and ability to supervise or control the infringing activity. Ellison v.
Robertson, 357 F.3d 1072, 1076 (9th Cir. 2004).

       As for the first element, “[t]he essential aspect of the ‘direct financial
benefit’ inquiry is whether there is a causal relationship between the infringing
activity and any financial benefit a defendant reaps, regardless of how substantial
the benefit is in proportion to a defendant's overall profits.” Ellison, 357 F.3d at
1079 (emphasis in original). And as for the second element, “a defendant exercises
control over a direct infringer when he has both a legal right to stop or limit the
directly infringing conduct, as well as the practical ability to do so.” Amazon.com,
508 F.3d at 1173.

                    1. Direct Financial Benefit

      The Ninth Circuit has held that “[f]inancial benefit exists where the
availability of infringing material ‘acts as a “draw” for customers,’ ” Napster II,
239 F.3d at 1023 (quoting Fonovisa, Inc. v. Cherry Auction, Inc., 76 F.3d 259,
263–64 (9th Cir. 1996)), and “[t]here is no requirement that the draw be
‘substantial.’ ” Ellison, 357 F.3d at 1079.

       Here, TikTok argues Waterman does not sufficiently allege that it has a
direct financial interest in the infringing activity. (Mot. 6:16-22.) The Court agrees.
In the Complaint, Waterman alleges, “Defendant has a direct financial interest in
the profits from the infringing activity. A direct financial interest can involve
increased traffic.” (Compl. ¶ 32.) This vague and conclusory statement does not
allege any relationship between the infringing activity and the alleged increased
traffic TikTok experienced by the Photos existing on TikTok’s platform.
Waterman does not make any attempt to show how increased traffic establishes a
financial interest or how this alleged infringement has created increased traffic on
TikTok’s platform. As such, Waterman has not sufficiently alleged TikTok
obtained any direct financial benefit from the alleged infringement.

                    2. Ability to Supervise or Control


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       To establish the second prong, a plaintiff must present facts plausibly
alleging that TikTok “has both a legal right to stop or limit the directly infringing
conduct, as well as the practical ability to do so.” Perfect 10, Inc. v. Amazon.com,
Inc., 508 F.3d 1146, 1174. In Amazon.com, the Ninth Circuit found defendant
lacked the practical ability to “analyze every image on the internet, compare each
image to all other copyrighted images that exist in the world…and determine
whether an image on the web infringes someone’s copyright.” Id. (quoting Perfect
10 v. Google, Inc.).

       TikTok argues that Waterman does not sufficiently allege that TikTok had
the right and ability to supervise the infringing conduct. (Mot. 6:11-8:15.)
Waterman argues the Complaint sufficiently satisfies this element. (Opp. 6:1-12.)
In her Complaint, Waterman alleges, “Defendant has the right and ability to
control the infringing acts of its users yet declined or failed to stop its users from
engaging in its infringing activity.” (Compl. ¶ 31.)

       Again, as discussed above, this is the type of bare, legally conclusory
language that courts may not accept as true. Waterman makes no attempt to satisfy
her burden at the pleadings stage that TikTok had any type of ability to supervise
or control its users’ infringing conduct. As such, Waterman’s vicarious copyright
infringement claim is DISMISSED.

   IV.      CONCLUSION

       For the reasons stated above, Defendant’s Motion to Dismiss is GRANTED.
Because leave to amend should be freely granted and the Court is unable to
determine at this point if an amendment would be futile, the Court GRANTS
Plaintiff’s request for leave to amend. Any such amended complaint must be filed
within twenty-one (21) days of the issuance of this Order.

       IT IS SO ORDERED.




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